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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                               Eastern Division

Lawrence E Jaffe, et al.
                                          Plaintiff,
v.                                                         Case No.: 1:02−cv−05893
                                                           Honorable Jorge L. Alonso
Household International Inc., et al.
                                          Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 18, 2016:


        MINUTE entry before the Honorable Jorge L. Alonso: Pretrial conference held
and continued to 5/23/16 at 9:00 a.m. Motion hearing held. For the reasons stated on the
record, Plaintiffs' Omnibus Motion to Exclude Defendants' Experts [2128] is granted in
part and denied in part. Plaintiffs' motion in limine to Permit Plaintiffs to Present
Evidence of the Fraud [2133] is granted. Plaintiffs' motion in limine to (1) Preclude
Defendants from Relitigating Falsity, Materiality, Scienter and Reliance; (2) Deem the
Findings from the Prior Proceedings Uncontested; and (3) Preclude Reference to
Dismissed Statements [2134] is granted in part and denied in part. Defendants' motion
inlimine No. 1 to Exclude Evidence not Relevant to Causation or Inflation Plaintiffs'
motion in limine [2144] is granted in part and denied in part. Notice mailed by judge's
staff(ntf, )




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